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                                      Bubbie Gunter                                                                                                                                                                                                 REC'D BY                                          D.C.
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                                      Honorable Judb: MichaelMopre

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                                                 I,Bubbie Gunter.submitthis Ietteras a concerned retailinvestorwith a vested
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                                      pertinentinformation and a ùnique perspective im podantto this case.
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          :                           the other SRO Motlons to Dism iss, I had to Iaugh. How a'bsurd are their claim s of
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                                                            . uAbsolute Immunity''from any crimesthék'may commitinthefuture.

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                                    W hatrationalperson could pbééibly interpretthè Self-Regulatory (SRO)Rule in
                              such a way? W hile itis true,SRO's enjoy ''absolute immunit/'from prosecution. The
    i                         'b
    !                         a solute im m unity''clause is nota shield from crim inalactivity.

                                         kow to bestexplain the SRO Rlmmunity-clause can bè found in this case:Ifhis
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                              Honor m akes a ruling in this case and the ruling is overturned on appeal,then the
           Iitlgants could notsue his Honorformaking the initialruling.This judicialimmunity is
'          essentialforjudges to make decisionswithoutfearofpersonalIiability-Similarly,SROS
           enjoy.this kind ofimmunity to ensurethey can perform theirregulytoryfunctionswithout
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                                         However,judicial iinmunity does not protect againstcriminalacts.If it were
                              discovered that his Honor had taken a bribe to m ake that ruling, he could be held
                              acdountable.and prosecuted for such illegalconduct.This distinction is crucial:W hile
                              SROs,Iikejudges,are protected from Iawsuits regarding theirofficialdecision@,the# are
                              notabove ihe Iaw when itcomesto criminalbehavior.

                                         The SRO 's listed in this case had a DUW
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                                                                                              to protectretailinvestors from harm
                              and corruption yetthey stood by and did nothing. They were given the entire arm ofthe
                              federal governm ent to ensure ''bad actors'' do not take advantage of unsuspecting
                              investors. Yet,they stood by and allowed marketm akers Iike Citadelto move in and
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!                                    Millions of voices cried outto the Securities and Exchange Commision (the
                              'ISEC'')aboutmarketmanipulation by marketmakers,who openly admitto ''setting the
                              price ofsecurities''instead ofallowing the naturalIaw ofsupply and dem and to do so.
                              However,the ''firstIine ofdefensen,that is to say the Securities Exchanges such as the
l                             New YorkStockExchange (NYSE)and FINRA,acting asSelf-Regulàtory Organizations
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                              (sRos- refused to police the marketas they should and Ietmarketmakers run wild,
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                              selling secùrities they did notown,m ism arking tens ofm illions ofboughtorders as sold


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                                            .                                   These practices and m ore have gone on for yeàrs without the SRO's taking
    !!                                                       action.And,finally w hen som eone stands up againstthem and asks,d
                                                                                                                              'W hy have you
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                                                         .allowed this to continue?' Tie SRO's in this case respond, ''Because we have
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               i                                     .       im m unityl'' God forbid this allpws itto continue any further.      .
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                                                             Bubbie Gunter,

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                                                             Concerned Investor



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